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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

J.G.,

              Plaintiff,                       CIVIL ACTION NO.
         v.                                    1:20-CV-5233-SEG
NORTHBROOK INDUSTRIES,
INC., D/B/A UNITED INN AND
SUITES,
              Defendant.

                      MEMORANDUM OPINION

        This matter is before the Court on the parties’ disputes regarding the

availability of punitive damages under 18 U.S.C. § 1595(a), and the use of

30(b)(6) deposition designations at trial. At the pretrial conference held on

July 2, 2025, the Court ruled that 18 U.S.C. § 1595(a) authorizes Plaintiff J.G.

to seek punitive damages. Moreover, at the July 3, 2025, pretrial conference,

the Court decided that Plaintiff may play video footage of Defendant

Northbrook Industries, Inc.’s (“Northbrook”) 30(b)(6) deposition at trial. This

memorandum explains the Court’s reasoning.

        I.    Punitive Damages Under 18 U.S.C. § 1595(a)

        J.G. seeks to recover punitive damages on her TVPRA claim, arguing

that the relevant statute, 18 U.S.C. § 1595(a), should be read to authorize
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punitive damages. (Doc. 188 at 7-9, 15.) Northbrook opposes J.G.’s request for

punitive damages, contending that punitive damages are not recoverable

under the TVPRA. (Doc. 187 at 7-15.)

        The plain language of the TVPRA is silent with respect to punitive

damages. The statute, 18 U.S.C. § 1595(a), provides that a plaintiff who

successfully brings a TVPRA claim “may recover damages and reasonable

attorneys fees[,]” but does not clarify which types of damages a plaintiff may

seek.

        Where a federal statute does not specify the availability of damages, the

Supreme Court has instructed that “absent clear direction to the contrary by

Congress, the federal courts have the power to award any appropriate relief in

a cognizable cause of action brought pursuant to a federal statute.” Franklin

v. Gwinnett County Public Schools, 503 U.S. 60, 70-71 (1992); see also id. at 66

(“From the earliest years of the Republic, the Court has recognized the power

of the Judiciary to award appropriate remedies to redress injuries actionable

in federal court, . . . .”); Bell v. Hood, 327 U.S. 678, 684 (1946) (“[W]here legal

rights have been invaded, and a federal statute provides for a general right to

sue for such invasion, federal courts may use any available remedy to make

good the wrong done.”).




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      The question then becomes whether punitive damages constitute an

“appropriate” form of relief for violation of a particular statutory right. The

Supreme Court considered, in Barnes v. Gorman, whether punitive damages

were appropriate in a private cause of action brought under § 202 of the

Americans with Disabilities Act and § 504 of the Rehabilitation Act. Barnes v.

Gorman, 536 U.S. 181, 183 (2002). As an initial matter, the Court determined

that the remedies for violating those provisions—based on language in the

respective statutes—were “coextensive with the remedies available in a private

cause of action brought under Title VI of the Civil Rights Act of 1964, 42 U.S.C.

§ 2000d et seq., which prohibits racial discrimination in federally funded

programs and activities.” Id. at 185.

      In considering whether punitive damages were available under Title VI,

the Court focused primarily on the nature of the statute, finding that it was

“much in the nature of a contract: in return for federal funds, the [recipients]

agree to comply with federally imposed conditions.”          Id. at 186 (quoting

Pennhurst State School and Hospital v. Halderman, 451 U.S. 1, 17 (1981)).

Because Title VI’s requirements sounded in contract, the Court reasoned that

a remedy would only be “appropriate” “if the funding recipient is on notice that,

by accepting federal funding, it exposes itself to liability of that nature.” Id. at

187. Moreover, “[a] funding recipient is generally on notice that it is subject

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not only to those remedies explicitly provided in the relevant legislation, but

also to those remedies traditionally available in suits for breach of contract”

under common law. Id. As such, the Court concluded that a Title VI claimant

could recover compensatory damages, which is a “form[ ] of relief traditionally

available in suits for breach of contract[,]” but not punitive damages because

they “are generally not available for breach of contract[.]” Id.

      The Court also noted that its interpretation of Title VI was “consistent

with the ‘well settled’ rule that . . . courts may use any available remedy to

make good the wrong done.” Id. at 189 (quoting Bell v. Hood, 327 U.S. at 684).

“When a federal-funds recipient violates conditions of Spending Clause

legislation,” the Court explained, “the wrong done is the failure to provide what

the contractual obligation requires; and that wrong is ‘made good’ when the

recipient compensates the Federal Government or a third-party beneficiary . . .

for the loss caused by that failure.” Id. Punitive damages, which are not

compensatory, would therefore go beyond the traditional remedial purpose to

“make good the wrong done” in the Title VI context. Id.

      The two federal courts of appeals to have addressed the question of

whether punitive damages are available under the TVPRA (or its predecessor,

the TVPA) have concluded that they are. In Ditullio v. Boehm, the Ninth

Circuit considered whether punitive damages were available for a civil TVPA

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claim brought under 18 U.S.C. § 1595 against a sex trafficker who recruited

several minors to engage in commercial sex. Ditullio v. Boehm, 662 F.3d 1091,

1093 (9th Cir. 2011). The Ditullio court first noted that, “[s]tanding alone, the

term “damages” is ambiguous: it could refer to compensatory damages,

punitive damages, nominal damages, or some combination of the three.” Id. at

1096. It further recognized that—in the face of a federal statute’s silence on

punitive damages—“[t]he Supreme Court has looked to the common law to

determine the remedies available under federal statutes creating causes of

action sounding in tort.” Id. at 1097. Because the common law has long

provided for punitive damages in tort actions, the Ditullio court reasoned that

punitive damages should also be available under the TVPA, which is rooted in

tort rather than contract. Id. (citing Barry v. Edmunds, 116 U.S. 550, 562

(1886)). Looking to common law principles, the Ninth Circuit concluded that

“[p]unitive damages are generally appropriate under the TVPA civil remedy

provision because it creates a cause of action for tortious conduct that is

ordinarily intentional and outrageous.” Id. at 1098.

      The Tenth Circuit, in Francisco v. Susano, agreed that “[p]unitive

damages are a well-established component of traditional common law

remedies” and noted that the Supreme Court has “recognized punitive

damages as a remedy under various federal statutes that did not expressly

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provide for such relief.” Francisco v. Susano, 525 F. App’x 828, 833 (10th Cir.

2013). It determined that the TVPA’s cause of action for labor trafficking was

consistent with “the traditional use of punitive damages . . . to punish and

deter misconduct involving an element of outrage.” Id. at 834. Thus, the

Francisco court held that punitive damages are available under 18 U.S.C. §

1595(a). Id. at 835.1

      Here, J.G.’s claim against Northbrook for benefitting from her sex

trafficking sounds in tort rather than contract, see Barnes, 536 U.S. 181, 186

(2002), and involves “an element of outrage similar to that usually found in

crime.” See Ditullio, 662 F.3d at 1097 (quoting Restatement (Second) of Torts

§ 908, cmt. B. (1979)). Indeed, to succeed on her civil beneficiary claim under

the TVPRA, J.G. must prove, inter alia, that Northbrook knowingly benefited

from participation in a venture which it knew or should have known engaged

in the crime of sex trafficking a minor. 18 U.S.C. § 1595(a); Doe #1 v. Red Roof

Inns, Inc., 21 F.4th 714, 726 (11th Cir. 2021). Accordingly, when looking to the

nature of the statutory right at issue under the TVPRA, punitive damages are

an “appropriate” remedy “to make good the wrong done.” Bell, 327 U.S. at 684;



1 The Fifth Circuit has also remarked, in passing, and citing to Ditullio and

Francisco, that the “the TVPRA authorizes punitive damages[.]” Adhikari v.
Kellogg Brown & Root, Inc., 845 F.3d 184, 206 (5th Cir. 2017).

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see also Snapp v. Unlimited Concepts, Inc., 208 F.3d 928, 934 (11th Cir. 2000)

(“Punitive damages are generally available for willful or intentional violations

of a common law or statutory duty, and their purpose is to punish and deter

the wrongdoer rather than to compensate the aggrieved party.”).

      Northbrook argues, however, that the Eleventh Circuit’s interpretation

of civil beneficiary claims under the TVPRA renders punitive damages

inappropriate. (See Doc. 187 at 9-12.) Specifically, Northbrook contends that

because the Eleventh Circuit has determined that the “participation in a

venture” element of a civil beneficiary claim does not require showing that a

defendant directly committed the crime of sex trafficking, and liability can

attach when a defendant has constructive knowledge rather than actual

knowledge that the venture violated the TVPRA, the prescribed conduct is

insufficiently outrageous or intentional enough to warrant punitive damages.

(Id.) But it is not clear why these two features of civil beneficiary claims should

alter the traditional availability of punitive damages for tortious conduct.

Depending on the particular facts of a case, participating in a venture that one

knows or should know is engaging in sex trafficking, even without directly

committing the act of sex trafficking, may be outrageous and reckless enough

for a jury to appropriately award punitive damages. As the Supreme Court

has recognized, “punitive damages in tort cases may be awarded not only for

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actual intent to injure or evil motive, but also for recklessness, serious

indifference to or disregard for the rights of others, or even gross negligence.”

Smith v. Wade, 461 U.S. 30, 48 (1983). In addition, Northbrook has failed to

point to any precedent suggesting that a statute’s mere inclusion of

constructive knowledge as a basis for liability bars the availability of punitive

damages.

      In sum, the Court finds that punitive damages are available for civil

beneficiary claims brought pursuant to 18 U.S.C. § 1595(a).          Should J.G.

prevail on her TVPRA claim at trial, she may seek an award of punitive

damages from the jury.

      II.   Use of 30(b)(6) Deposition Designations at Trial

      J.G. sought to play at trial video footage of designated portions of

Northbrook’s 30(b)(6) representative’s testimony, Tahir Shareef. (See Doc. 188

at 16-20.) Separately, J.G. also sought to call Mr. Shareef live as a witness in

his personal capacity as the manager of United Inn. (Id.) Counsel for J.G.

represented that he expected to play a limited number of excerpts of Mr.

Shareef’s 30(b)(6) deposition, totaling approximately fifteen minutes of

testimony. (Pretrial Conference, July 2, 2025.)

      Northbrook opposed J.G.’s use of the 30(b)(6) deposition designations

during trial. (Id.) Specifically, Northbrook argued that because Mr. Shareef

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would be present in the courtroom at trial, he should be permitted to testify in

person consistent with the general preference for live testimony. Moreover,

Northbrook argued that playing footage of Mr. Shareef’s 30(b)(6) deposition in

court—and also eliciting live testimony from him in his personal capacity soon

afterwards—risked confusing the jury.

      Pursuant to Federal Rule of Civil Procedure 32(a)(3), “an adverse party

may use for any purpose the deposition of a party or anyone who, when

deposed, was the party’s officer, director, managing agent, or designee under

Rule 30(b)(6) or 31(a)(4).” Fed. R. Civ. P. 32(a)(3) (emphasis added). The

former Fifth Circuit, in precedent binding on this court,2 has held that the plain

language of Rule 32(a)(3) (formerly Rule 32(a)(2)) “permits a party to introduce

the deposition of an adversary as part of his substantive proof regardless of the

adversary’s availability to testify at trial.” Coughlin v. Capitol Cement Co., 571

F.2d 290, 308 (5th Cir. 1978). Several district courts in this circuit have

similarly found that Rule 32(a)(3) authorizes a party to use its adversary’s

30(b)(6) deposition at trial whether or not the deponent is available to testify

at trial. See, e.g., Walker v. Banks, Finley, White & Co. of Georgia, P.C., No.



2 The Eleventh Circuit has adopted as binding precedent all Fifth Circuit
decisions issued before October 1, 1981. Stein v. Reynolds Sec., Inc., 667 F.2d
33, 34 (11th Cir. 1982).

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1:19-CV-5461-CAP, 2023 WL 11909753, at *9 (N.D. Ga. Jan. 3, 2023) (ruling

that “Rule 32(a)(3) specifically allows the use of [defendant’s] Rule 30(b)(6)

deposition by the plaintiff” at trial); Jenkins v. Corizon Health Inc., No. CV418-

099, 2022 WL 332383, at *1 (S.D. Ga. Feb. 3, 2022) (“Courts in this circuit have

held that Rule 32(a)(3) permits use of a corporate designee’s deposition

testimony regardless of the adversary’s availability to testify at trial.” (cleaned

up)); Mt. Hawley Ins. Co. v. Tactic Sec. Enf’t, Inc., No. 616CV1425ORL40TBS,

2018 WL 10690250, at *1 (M.D. Fla. Apr. 5, 2018) (“Plaintiff may . . . introduce

portions of depositions during its case of individuals described under Rule

32(a)(3), regardless of such individual(s)’ availability to testify live at trial.”).3

      Moreover, while the Court recognized that it has discretion to manage

the presentation of evidence at trial under Federal Rule of Evidence 611, it was

not persuaded that J.G.’s limited use of the relevant 30(b)(6) deposition

designations would be confusing for the jury or disrupt the efficient

presentation of evidence during trial. To the contrary, the clear demarcation



3 In its argument at the pretrial conference, Northbrook cited Dhyne v. Meiners

Thriftway, Inc., 184 F.3d 983, 989 (8th Cir. 1999), for the proposition that
“[m]any trial judges require that a deposed witness testify live, if available.”
While the Dhyne court opined that the practice of requiring an adversary’s
corporate officer to testify live did not cause unfair prejudice, and was “at worst
harmless error[,]” it nevertheless recognized that the practice was “arguably
inconsistent with the language of Rule 32(a)(2)[.]” Id. at 990.

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between Mr. Shareef’s 30(b)(6) deposition played on video, and his live

testimony in his personal capacity, may aid the jury in distinguishing between

the two distinct roles that each portion of testimony serves. As such, the Court

concluded that J.G. could present video footage of Mr. Shareef’s 30(b)(6)

deposition to the jury.

      III.   Conclusion

      For the foregoing reasons, if Plaintiff succeeds on her TVPRA claim at

trial, she will be permitted to seek punitive damages pursuant to 18 U.S.C.

§ 1595(a). In addition, for the foregoing reasons, Plaintiff was permitted to

present video footage of Mr. Shareef’s 30(b)(6) deposition to the jury.

      SO ORDERED, this 9th day of July, 2025.




                                     SARAH E. GERAGHTY
                                     United States District Judge




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